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Case 2:09-cv-03620-KDE-ALC Document9 Filed 04/20/09 Page 1 of 4 / 0 AY VY

82 AO.480 (Rev. 04/08) Civil Sane

UNITED STATES DISTRICT COURT
for the

Middle District of Louisiana

Ernestine Saul, et al
Plaintiff
v.
Keystone RV Company, Shaw Environmental, Inc.,
and United States of America through the Federal

Emergency Management Agency
Defendant

Civil Action No. 09-cy-210

feet See Net ee Neel

Summons in a Civil Action

To: (Defendant's name and address)
Keystone RV Company
Through its agent of service,
David G. Thomas
2642 Hackberry Drive
Goshen, IN 46526

A lawsuit has been filed against you.

Within 20 days after service of this summons on you (not counting the day you received it), you must serve

on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The
answer or motion must be served on the plaintiff's attorney, whose name and address are:

If you fail to do so, judgment by default will be entered against you for the relief demanded in the complaint. You also
must file your answer or motion with the court.

Nick J. Lorio

Name of clerk of court

Nivole! R. doug

Deputy clerk's signature

Date: | April 20, 2009

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(Use 60 days if the defendant is the United States or a United States agency, or is an officer or employee of the United States allowed 60 days by
Rule 12fa)(3))

& AO 440 (Rev. 04/08) Civil Summons (Page 2)
———_— Se

Proof of Service

i declare under penalty of perjury that I served the summons and complaint in this case on
by:

(1) personally delivering a copy of each to the individual at this place,

(2) leaving a copy of each at the individual’s dwelling or usual place of abode with
who resides there and is of suitable age and discretion; or

(3)delivering a copy of each to an agent authorized by appointment or by law to receive it whose name is
3 Or

(4) returning the summons unexecuted to the court clerk on ;or
(S)other (specify)
My fees are $ for travel and $ for services, for a total of $ 0.00
Date:
Server's signature
Printed name and title

Server's address
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C e 2 07 md 01873 KDE M BN Document 14476 Filed 06/22/10 Pa e 3 f 3 .
as

UNITED STATES*POSTAL SERVICE ET4 qa 5 | | ATE
MP2 BOA CBRE Reap oe

Justin Woods
Gainsburgh, Benjamin, David,
1100 Poydras Street, Suite 2800
New Orleans, Louisiana 70163

Formaldehyde 09-3620 Emestine Saul

She ite age Yee

Meunier & Warshauer, L.L.C.

® Sender: Please print your name, address, and ZIP+4 in this box ¢

c1S[a) 226 el eWay Li trey 04 5/0) 4]

A. Signature

Hed besotted tsltbathullasllradhl

bh La) Ma =p yey y[e)!ie) fae

item 4 if Restricted Delivery is desired. x WP (| Ly yet 0 Dh Agent
a iit your name and address on the reverse a | ¢ | ____( Addressee
* g 20,that we can retumn the card to ou. B, Received by (Printed Name) C. Date of Delive
M Attach this card to the back of the mailpiece, * ih | 77 1 4 /
or on the front if space permits. Mg aay) Bi Ideratiok Ole O21
D. Is delivery address different from item1? C1 Yes

1. Article Addressed to:

If YES, enter delivery address below:

Keystone RV Company
c/o David G. Thomas
2642 Hackberry Drive
Goshen, IN 46526 3. Service Type
DO Certified Mal Express Mail
CO Registered C1 Retum Receipt for Merchandise
Insured Mail = C.0.D.
4. Restricted Delivery? (ExtraFee). . . C1 Yes
2. Articla Number
(Transfer from service labey 7008 1839 OOO4 141497 eeqy
PS Form 3811, February 2004 Domestic Return Receipt 102595-02-M-1540
